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                                                ALEKSANDR KUZMENKO
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                                            8                                 IN THE UNITED STATES DISTRICT COURT

                                            9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                               Case No. 2:14-CR-00044-GEB

                                           12                    Plaintiff,
                                                                                                        AMENDED STIPULATION AND
               S ACRAMENTO , C ALIFORNIA




                                           13            v.                                             [PROPOSED] ORDER
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   ALEKSANDR KUZMENKO,

                                           15                    Defendant.

                                           16

                                           17            The parties to this litigation, the United States of America, represented by Assistant

                                           18   United States Attorney, Michele M. Beckwith, and for the defendants: 1- Kresta N. Daly

                                           19   representing Aleksandr Kuzmenko; 2- Michael L. Chastaine representing Petr Kuzmenko; 3-

                                           20   Steven B. Plesser representing Arsen Muhtarov; and 4- James R. Greiner representing Valeriy

                                           21   Nikitchuk hereby agree and stipulate to the following:

                                           22            1. By previous order, this matter was set for status conference on Friday, February 26,

                                           23   2016.

                                           24            2. By this Stipulation, the defendants collectively now move to continue the status

                                           25   conference until Friday, April 8, 2016 and to exclude time pursuant to the Speedy Trial Act

                                           26   between February 26, 2016 and April 8, 2016 under Local Codes T-2 (complexity due to the

                                           27   amount of discovery, number of defendants and potential legal issues) and T-4 (time for adequate

                                           28   attorney preparation). The government, to date, has produced discovery of more than
                                                {00018064}
                                                AMENDED STIPULATION AND ORDER                     -1-                             [Case No. 2:14-CR-00044-GEB]
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                                            1   approximately 15,300 pages in this case.

                                            2            3. The parties agree and stipulate to the following and request the Court to find the

                                            3   following:

                                            4                a. The government has produced initial discovery to date which consists of

                                            5   approximately over 15,300 pages.

                                            6                b. Counsel for all defendants need additional time to continue to review all the

                                            7   discovery with their respective clients, to continue investigation into this case, continue to do

                                            8   research, which includes legal research, in this case, and to otherwise continue to do review and

                                            9   investigation, using due diligence, that this complex case requires.

                                           10                c. Counsel for all defendants represents that the failure to grant the above requested

                                           11   continuance would deny counsel for each individual defendant the reasonable time necessary for

                                           12   effective preparation, taking into account the exercise of due diligence.
               S ACRAMENTO , C ALIFORNIA




                                           13                d. Alexander Kuzmenko’s attorney, Ms. Daly, had been preparing for Trial to begin
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   in this district on February 8, 2016, (2:12-CR-00315 JAM), which was scheduled to last for at

                                           15   least one month. That case has resolved and Ms. Daly now requires additional time to adequately

                                           16   prepare herself to go forward with Mr. Kuzmenko’s case.

                                           17                e. All defense counsel need additional time to review the over approximately 15,300

                                           18   pages of discovery with their respective clients, and to do investigation regarding that discovery

                                           19   and leads from their respective clients, with some defendants having investigation in various

                                           20   states outside of the State of California.
                                           21                f. The government, based on all of the above, does not object to the continuance.

                                           22                g. Based on the above stated findings, the ends of justice served by continuing the

                                           23   case as requested outweigh the interest of the public and all the defendants in a trial within the

                                           24   original date prescribed by the Speedy Trial Act.

                                           25                h. For the purpose of computing the time under the Speedy Trial Act, Title 18 U.S.C.

                                           26   section 3161, et seq., within which trial must commence, the time period from February 26, 2016
                                           27   and April 8, 2016, inclusive, is deemed excludable pursuant to Title 18 U.S.C. section

                                           28   3161(h)(7)(B)(ii) which corresponds to Local Code T-2 and Title 18 U.S.C. section
                                                {00018064}
                                                AMENDED STIPULATION AND ORDER                    -2-                             [Case No. 2:14-CR-00044-GEB]
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                                            1   3161(h)(7)(B)(iv) corresponding to Local Code T-4, because it results from a continuance granted

                                            2   by the Court at defendants’ request on the basis of the Court’s finding that both, the case is

                                            3   complex due to the amount of discovery and number of defendants and potential legal issues in

                                            4   the case and that the ends of justice served by taking such action outweigh the best interest of the

                                            5   public and all of the defendants in a speedy trial.

                                            6           4. Nothing in this stipulation and order shall preclude a finding that other provisions of

                                            7   the Speedy Trial Act dictate that additional time periods are excludable from the period within

                                            8   which a trial must commence.

                                            9           IT IS SO STIPULATED.

                                           10   Respectfully submitted:
                                                                                       BENJAMIN B. WAGNER
                                           11                                          UNITED STATES ATTORNEY
                                           12
                                                Dated: February 1, 2016                       /s/ Michele M. Beckwith
               S ACRAMENTO , C ALIFORNIA




                                           13                                                 MICHELE M. BECKWITH
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                       Assistant United States Attorney, Attorney For The Plaintiff
                                           14
                                                Dated: February 1, 2016                BARTH DALY LLP
                                           15
                                                                                       By     /s/Kresta Nora Daly
                                           16                                                 KRESTA NORA DALY
                                                                                       Attorneys for Defendant Aleksandr Kuzmenko
                                           17
                                                Dated: February 1, 2016                     /s/ Michael L. Chastaine
                                           18
                                                                                              MICHAEL L. CHASTAINE
                                           19                                          Attorney for Defendant Petr Kuzmenko

                                           20   Dated: February 1, 2016                     /s/ Steve B. Plesser
                                                                                              STEVE B. PLESSER
                                           21                                          Attorney for Defendant Arsen Muhtarov
                                           22
                                                Dated: February 1, 2016                     /s/ James R. Greiner
                                           23                                                 JAMES R. GREINER
                                                                                       Attorney for Defendant Valeriy Nikitchu
                                           24

                                           25      IT IS SO ORDERED.

                                           26   Dated: February 1, 2016
                                           27

                                           28

                                                STIPULATION AND ORDER                        -3-                                [Case No. 2:14-CR-00044-GEB]
